 Case 1:20-cv-25022-KMM Document 29-4 Entered on FLSD Docket 01/25/2021 Page 1 of 3

A() 440 (Rey. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-J LK

                                                            PROOF OF SERVICE
                       (This section should not be/lied with the court unless required by Fe& K Civ. P. 4 (0)

           This summons for (name of individual anti title, if anv)    Saud Al Qahtani
was received by me on (date)                       01/21/2021

           • I personally served the summons on the individual at (place)
                                                                                 011 (date)                            ; or

           • I left the summons at the individual' s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                 and mailed a copy to the individual' s last known address; or

               T served the summons on (name af individual) William Brody - Partner (Carmichael, Ellis & Brock)     who is
            designated by law to accept service of process on behalf of (name of organization) Jessica Carmichael, Esq.
           Counsel for Saud Al Qahtani                                           on (date)           01/21/2021        ; Or

           • T returned the summons unexecuted because                                                                               or

           I Other (specijj):




           My fees are $                            for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:           01/21 /2021
                                                                                              Server's signature

                                                                                          Albert Safewright
                                                                                          Printed name and title

                                                                       22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                              Server address

Additional information regarding attempted service, etc:
Served with Summons & Complaint:
Copy of Summons & Complaint in Arabic
Order: Authorizing Alternative Service
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R Civ. P. 4 (0)

           This summons for (name of individual and title, ifanv)       Saud Al Qahtani
was received by me on (date)                      01/21/2021

           ri   I personally served the summons on the individual at (place)
                                                                                  on (date)                            ;or

           71    left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                                and mailed a copy to the individual's last known address; or

                T served the summons on (name of individual)          Anthony Mancia - Authorized Recieving Agent               . who is
           designated by law to accept service of process on behalf of (name of organLation)               Jessica Carmichael, Esq.
          Counsel for Saud Al Qahtani                                            on (date)           01/21/2021        ; or

           n    I returned the summons unexecuted because                                                                            ; or

           71 Other (specifj):




           My fees are $                           for travel and $                   for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


Date:           01/21/2021
                                                                          Pir
                                                                                              Server's signature


                                                                                          Albert Safewright
                                                                                          Printed name and tide


                                                                        22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                              Server's cu/dress

Additional information regarding attempted service, etc:
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 Case 1:20-cv-25022-KMM Document 29-4 Entered on FLSD Docket 01/25/2021 Page 3 of 3

AO 440 ()Rev, (t6/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (W

           This summons for (name of individual and title, if any)        Saud Al Qahtani
was received by me on (date)                        01/21/2021

           71 I personally served the summons on the individual at (place)
                                                                                   on (date)                              or

           171I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                  and mailed a copy to the individual' s last known address; or

               I served the summons on (name of individual)             Anthony Mancia - Authorized Recieving Agent               who is
            designated by law to accept service of process on behalf of (naine of organimtion)              Barry J. Pollack, Esq.Counsel
           for Saud Al Qahtani                                                     on (date)          01/21/2021          OT


           n   I returned the summons unexecuted because                                                                              or

           71 Other (specify):




           My fees are $                             for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true


Date:           01/21/2021
                                                                                               Server's signature

                                                                                            Albert Safewright
                                                                                            Printed name and due

                                                                          22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                               Server address

Additional information regarding attempted service, etc:
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Copy of Summons & Complaint in Arabic
Order: Authorizing Alternative Service
